







TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN















TEXAS COURT OF APPEALS, THIRD
DISTRICT, AT AUSTIN

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  NO.&nbsp; 03-12-00124-CV
  
 




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Detran Levy, Appellant

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v.

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Texas Department of Family and Protective Services,
Appellee

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  FROM THE 53rd
  District Court OF Travis COUNTY,
  
  NO. AG
  07-001250, The Honorable Scott H. Jenkins,
  JUDGE PRESIDING
  
 




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  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; O
  R D E R
  PER CURIAM
  Appellant Detran Levy
  filed his notice of appeal on
  February 29, 2012. &nbsp;The appellate record was complete April 3, 2012, making appellant=s brief due April 23, 2012.&nbsp; To date, appellant=s
  brief has not been filed. 
  Recent amendments to the rules of judicial administration accelerate
  the final disposition of appeals from suits for termination of parental
  rights.&nbsp; See Tex. R. Jud. Admin.&nbsp;6.2(a), available at http://www.supreme.courts.state.tx.us/MiscDocket/12/12903200.pdf
  (providing 180 days for court’s final disposition).&nbsp; The accelerated schedule requires greater
  compliance with briefing deadlines.&nbsp; Therefore we order counsel to file appellant=s brief no later than May 18, 2012.&nbsp; If the brief is not filed by that date,
  counsel may be required to show cause why she should not be held in contempt
  of court.
  It is ordered on May 3, 2012.
  Before Chief Justice Jones, Justices Pemberton and Rose.
  
 


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